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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

Case No. 01-1139 (JKF)
Jointly Administered

W.R. Grace & Co., et al.

Debtors.

AFFIDAVIT OF SERVICE

Linda M. Ellis being duly sworn according to law, deposes and says that she is employed
by the law firm of Pachulski Stang Ziehl Young Jones & Weintraub LLP and that on the 30" day
of March, 2007, she caused a copy of the following documents to be served upon the following

service list(s) in the manner indicated:

Summary of Application of Latham & Watkins LLP for Compensation for
Services and Reimbursement of Expenses as Special Tax Counsel to W.R.
Grace & Co., et al. for the Period from February 1, 2007 through
February 28, 2007

Kenta i Elle

“Lirkda M. Ellis

Sworn to and subscribed before
me this 30." day of March, 2007

ye MARY E. CORCORAN

Notary Public state or etl
Of Uelaware
Co . . .
My Commission Expires: U | af 0+ My Commission Expires Nov. 4, 2007

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Grace Fee Application Service List
Case Number: 01-1139 KF)
Document Number: 45804

01 — Hand Delivery

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